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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

ve ; No. 2 1-cr-352 (JEB)
Motion to Dismiss for Lack of Due
Process and the Liability of Libel

1

MARC BRU,

Defendant.

 

COMES NOW, Marc Anthony Bru, Defendant, having reached the age of majority, competent to state
the facts forthwith, and pledges to correct the international record under solemn affirmation under the
penalties of perjury, to have the particulars addressed with right to the truth, with the Defendant's
obligation of asking for the facts of the case, which the answers must satisfy to the Defendant by the
fiduciary obligation of the court with no right to remain silent or refuse to answer, on the grounds to
motion to dismiss for lack of due process and the plaintiff's parties liability of libel, and many other

crimes such as pain compliance against the Defendant which is classified as torture under international
law, and

This is in rebuttal to the following accusations made against the Defendant, by the charges listed by
United States Code which is copyrighted intellectual property as to which the Defendant is not a party
to, nor does the Defendant have rights in using, and therefor cannot be legally charges by it, otherwise

the plaintiff's would be looking at violating the Derendant s rights by and through Title 18 U.S.C § 241
& 242, and

The listed complaint of the accusation listing the charges here so forth: 18 U.S.C § 1752(a)(1)-
Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
18 U.S.C § 1752(a)(2)- Knowingly Engaging in Disorderly or Disruptive Conduct in any Restricted
Building or Grounds,40 U.S.C § 5104(e)(2)(D), and (e)(2)(G)-Violent Entry and Disorderly Conduct

on Capito] Grounds, 18 U.S.C § 231(a)(3)-Obstruction of Law Enforcement During Civil Disorder, 18
U.S.C § 1512(c)(2)- Obstruction of Justice/Congress, and

The Defendant, by the rule of law, have the right to face every accuser, therefor an unsealed indictment
by a private club, not of the Defendant's peers, not by compact, cannot have any legal standing unless
each and every individual member of the jury who signed the said indictment is willing to come
forward, sign a bilateral social compact with the Defendant giving the jury the right to indict the

Defendant, and wherein the Defendant having the right to address the members of peers of the jury in
court, and

The Defendant's security of persons is being violated by being inserted into this joint civil case against
the Proud Boys, L.L.C. Marc Bru is not a member of the Proud Boys, L.L.C. Having Proud Boys gear

such as neck guitar, shirt, hoodie and helmet cloes not make the Defendant a member of Proud Boys,
L.L.C, and
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The Defendant is being sued in civil court within the United States District Court of the District of
Columbia followed with Federal Rules of Civil Procedure. The Defendant's security of person is being
violated by violation of Federal Rules of Civil Procedure, Rule 17, Subsection B3(a) wherein the
Defendants name and person, an unincorporated association, and as exhibit A and B, herein defined as
a private membership association that the United States District Court is not a party to and which is
foreign to by international boundaries, wherein the Defendant is being sued where legally cannot be
sued, and

The fact that the Defendant cannot be sued in its common name under a civil court in federal trial is
tules for this case to be dismissed because if there cannot be a conviction in civil court for an
assessment in damages to equity or injury to persons for an injunction than the evidence does not exist
to substantiate to try a case for a criminal intent and therefor the parties not being in compact with the
Defendant and cannot try the Defendant, and

In the complaint listed against the Defendant claimed that the Metropolitan Capitol Police only have
access to restricted areas to enforce security. The the Defendant asks, why was the Metropolitan Capitol
Police escorted members of the assembly of that day on January 6", 2021 into the Capitol Building and
into many restricted areas? It at that moment the entry became an invitation by the Metropolitan

Capitol Police and is by lawful authority no longer restricted area and considered trespassing, which
makes this case entrapment into political trial existing on hearsay and totalitarianism by using
communist tactics such as ridicule, and

The Defendant has not at any time, in any situation from the events that took place on January 6", 2021
at the District of Columbia, incited any insurrection or rebellion, did not damage any property, wasw
not violent towards any human being, and did not injure any person and what happened by the actions
of other persons is not of liability or responsibility of the Defendant's, and

The Defendant followed the rest of the assembly of the crowd whom where being escorted by the
Metropolitan Capitol Police, the defendant did not directly walk into sealed off areas as to which

denied access to the public Jest those barriers were already taken down and therefore the Defendant
wouldn't have known, and

Mentioning that the Metropolitan Capitol Police having video cameras, and the quality, video footage
of the events of the assembly, and the costs for the riot shields does not equate of being any proof of
evidence of any sedition, rebellion, damage to property, violence or injury to persons and therefor this
case does not have any reason from the soul of law to be tried having no material evidence and not
being in social compact where the Defendant has granted this court judicial powers, and

The Plaintiff through both the Democrat and Republican parties have disrupted trade and commerce for
more then two years from a flu the mainstream media propagated as a pandemic and was obviously not,
and by and through the complaint, the accusation made against the Defendant for disrupting trade and
commerce as if the Defendant knew every single human being at the Capitol Building on January 6,
2021 and had control of what the entire assembly was doing and therefor the Defendant, as much as the
Metropolitan Capitol Police, was inadequate from preventing any of the chaos and therefor the claim
against the Defendant is political and predatory, and
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On the day of January 6", 2021, the Defendant did not understand peremptory norms and customary
international law as the Defendant does now and was misinformed of the facts. The Defendant did not
understand that the “United States” or by action by this court by and through its title “United States of
America” is a private company, secret society, private club, and is foreign to this geographical Country
“The United States of America” by and through its chain of title styled the way it was recorded in the
Articles of Confederation ratified in the year 1781 as to which the Northwest Ordinance, its survey and
its political division allowing news States into the Union 1784-1787, belong to the Articles of
Confederation where the United States Constitution did not meet any of the prerequisites or criteria
listed in Article 13 of the Articles of Confederation of it's unanimous and perpetual clause, and

The elections were handled by private companies acting as incorporating counties, corporations owning
shares and trading stock, operating under home rule charters that the 48 contiguous respective States, in
their individual capacity, have not ceded the public property by and through an election process by the

people who live and reside in the respective geographical county of the individual person's State and
therefor the election is a fraud ex facie, and

There is no social compact that exists between the Defendant and any officer in the executive,
legislative, or judicial branch of the United States and besides this matter of fact, it is quite obvious that
no common man likes, in facts strongly dislikes Joe Biden. It is common that people all over the
Country which has been proven again and again by video evidence, mass witness testimony, billboards
and signs posted all over other Country that can be referenced in exhibit, using Joe Biden's name with
obscenities and ad hominems. It is that your common man knows and have seen the evidence that Joe
Biden is purposely, with the absolute intent to sabotage commerce and trade as to create a war of
attrition against the American people to destroy this Country, and

The purpose of this illegal political trial against the Defendant is for the purposes to ridicule the claim
of the people whom did not want to be forced into association with Joe Biden, Joe Biden's
administration, and the divided legislature with two houses with no social compact with the people that
is signed and published operating in foreign survey anda private constitution, reference Exhibit C and

The Plaintiff's parties holding these J6 trials is to ridicule the people. Ridicule is defined as the
subjection of someone or something to contemptuous or dismissive language and or behavior. The

Plaintiff's are ridiculing the people because of the massive fraud committed by the November 2020
elections, and

The plaintiff's parties are attempting by this court action to create an adhesion contract against the
Defendant, where the Defendant is the inferior party being subjected to perpetual exile which is a form
of statelessness placing the defendant as dead to rights and therefor the Defendant motions the court to

dismiss this case as for relief for the Defendant and not having prejudice as to sue the plaintiff"

S parties
for attempted murder, and
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Exhibit A: Exhibit B:
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Exhibit C:

§ 16. A nation is under an obligation to preserve itself.

In the act of association, by virtue of which a multitude of men form together a state or nation, each individual has entered into engagements with
ail, to promote the general welfare; and all have entered into engagements with each individual, to facilitate for him the means of supplying his
necessities, and to protect and defend him. It is manifest that these reciprocal engagements can no otherwise be fulfilled than by maintaining the
political association. The entire nation is then obliged to maintain that association; and as their preservation depends on its continuance, it thence
follows that every nation is obliged to perform the duty of self-preservation,

This obligation, so natural to each individual of God's creation, is not derived to nations immediately from nature, but from the agreement by which
advil society is formed: it is therefore not absolute, but conditional, — that is to say, it supposes a human act, to wit, the social compact And as
compacts may be dissolved by common consent of the parties — if the individuals that compose a nation should unanimously agree to break the
link that binds them, it would be lawful for them to do so, and thus to destroy the state or nation; but they would doubtless incur a degree of guilt, if
they took this step without just and weighty reasons; for civil societies are approved by the Law of Nature, which recommends them to mankind, as
the true means of supplying all their wants, and of effectually advancing towards their own perfection. Moreover, civil society is so useful, nay so
necessary to all citizens, that it may well be considered as morally impossible for them to consent unanimously to break it without necessity. But
what citizens may or ought to do — what the majority of them may resolve in certain cases of necessity or of pressing exigency — are questions
that will be treated of elsewhere: they cannot be solidly determined without some principles which we have not yet established. For the present, it
is sufficient to have proved, that, in general, as long as the political society subsists, the whole nation is objiged to endeavor to maintain it.

Defendant further sayeth naught Has. a Date le, Ad2s

Title: Motion to Dismiss
CERTIFICATE OF ACKNOWLEDGMENT OF NOTARY PUBLIC

}SS:
The United States of America)
On this Sunde, 209.3 , the Defendant named above, personally appeared before me and

 

acknowledged to me on the basis of satisfactory evidence that he or she executed the same in his or hers stated capacity,
and that by his or hers signature on this trust is the person or entity upon behalf of which the person signed is a free and
voluntary act and deed for the purposes and upon the terms and conditions hereinafter set forth,

Date: June. (a, 202.3

 
 
 

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